       Case 1:17-cv-02989-AT Document 1678-2 Filed 06/05/23 Page 1 of 7




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DONNA CURLING, ET AL.,
 Plaintiffs,

 v.                                            Civil Action No. 1:17-CV-2989-AT

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.


      DECLARATION OF ANDREW W. APPEL IN SUPPORT OF THE
          UNSEALING OF THE 2021 HALDERMAN REPORT

      I, ANDREW W. APPEL, declare, under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:

      1.     I have over 40 years’ experience in computer science, and 18 years’

experience studying voting machines and elections.

      2.     I am the Eugene Higgins Professor of Computer Science at Princeton

University, where I have been on the faculty since 1986 and served as Department

Chair from 2009-2015. I have also served as Director of Undergraduate Studies,

Director of Graduate Studies, and Associate Chair in that department. I have

served as Editor in Chief of ACM Transactions on Programming Languages and

Systems, the leading journal in my field. In 1998 I was elected a Fellow of the

Association for Computing Machinery, the leading scientific and professional

                                          1
      Case 1:17-cv-02989-AT Document 1678-2 Filed 06/05/23 Page 2 of 7




society in Computer Science.

      3.    I received an A.B. (1981) from Princeton University summa cum

laude in Physics, and a PhD (1985) from Carnegie Mellon University in Computer

Science.

      4.    I have taught undergraduate and graduate courses at Princeton

University in programming, programming languages, software engineering,

election machinery, software verification, and formal methods.

      5.    I have testified on election technology before the U.S. House of

Representatives (subcommittee on information technology, 2016), the New Jersey

legislature (several committees, on several occasions 2005-2018), the Superior

Court of New Jersey (Mercer County, 2009; Cumberland County, 2011), the New

York State Board of Elections (2019), the Freeholders of Mercer County (2017 and

2019) and Essex County (2019).

      6.    I have published over 140 scientific articles and books, including

many papers on computer security and several papers on voting machines, election

technology, and election audits.

      7.    I have served as a peer-review referee for the Usenix Electronic

Voting Technology workshop.

      8.    I am not being compensated for my work related to this matter. I

expect that my expenses, if any, will be reimbursed.

                                         2
       Case 1:17-cv-02989-AT Document 1678-2 Filed 06/05/23 Page 3 of 7




      9.     The report on security flaws in Dominion voting machines, written by

Professors J. Alex Halderman and Drew Springall in July 2021 and placed under

seal by the Federal District Court for the Northern District of Georgia, should be

immediately unsealed by the Court and be made public.

      10.    I have not read Professor Halderman’s report, since it is still under

seal, but (from all descriptions of it) it is a classic example of a security-

vulnerability report that should now be released to the public. The report has been

available to the vendor for over 500 days, so there has been ample time to patch

those vulnerabilities that can be patched. In fact, Dominion claims to have fixed

some vulnerabilities apparently related to the Halderman report, in their

Democracy Suite 5.17 product, according to their recent filing with the EAC.

      11.    Today,     the    customers          of   Dominion’s   product—election

administrators, public officials, and voters—need full information about its

security so they can make their own fully informed judgments about how to run

their elections.   With public awareness of the vulnerabilities described in the

report, citizens can then ask their state election officials to install Dominion’s

update rather than leaving it on the shelf.

      12.    Computer security experts in both industry and academia widely

recognize that keeping vulnerability details secret, past the time in which a

technology vendor could reasonably have patched them, harms the security of that

                                              3
        Case 1:17-cv-02989-AT Document 1678-2 Filed 06/05/23 Page 4 of 7




 technology’s users.

       13.    Vulnerabilities in computer software can be exploitable, meaning that

 hackers who know about these bugs can exploit them to take unauthorized actions.

 When such vulnerabilities persist without being fixed (“patched” in the language of

 computer security) and without the distribution of software updates incorporating

 such fixes, then users of such software suffer harms due to the insecure software.

 Today, it is uniformly recognized that keeping vulnerabilities secret does not

 provide security. If someone can discover a vulnerability, others can as well.

       14.    In the early decades of computer systems, vendors were very slow to

 patch systems. To address this problem, a system of responsible disclosure was

 developed in the late 1990s and early 2000s, and this system is now widely

 accepted by industry (both the vendors and users of software), government

 agencies such as CISA, and by security researchers world-wide.

       15.    Upon discovering a security flaw, a security researcher practicing

 responsible disclosure will notify the maker (either directly or via one of the

 organizations that exists for this purpose) of all the details needed to understand

 and reproduce the problem. The researcher will inform the maker that after a set

 period (generally around 90 days) all the details will be published.

       16.    The purpose of the (delayed) public disclosure is twofold:

1) to incentivize software vendors to fix their bugs and distribute those fixes

                                           4
        Case 1:17-cv-02989-AT Document 1678-2 Filed 06/05/23 Page 5 of 7




promptly (or to produce less buggy software in the first place) and 2) to inform

consumers of software so that they may improve their own security, either by

installing such fixes or by discontinuing the use of vulnerable software.

       17.    This process—early notification to vendors followed by public

 disclosure after a set period—is the industry norm.         Corporate CSOs (Chief

 Security Officers) who are consumers of commercial software rely on public

 notification to secure their own businesses. Makers of software (at sufficiently

 high level of professionalism) are well-organized enough to act upon

 vulnerabilities disclosed to them. Google’s “Project Zero” is a team of security

 researchers that have released 1791 disclosures after a 90-day delay, and 6

 disclosures on which they delayed release for not more than 216 days. An entire

 industry exists to assist companies in paying cash bounties to independent

 researchers who responsibly disclose bugs and vulnerabilities.

       18.    Before responsible disclosure, including (delayed) full disclosure of

 vulnerability details, became the norm, vendors would ignore security flaws and

 claim that the flaws were merely “theoretical.” They would leave their systems

 vulnerable—sometimes taking years to patch their software, or never patching their

 software—relying on the ignorance of their customers.

       19.    Those who argue that publishing vulnerabilities enables bad people to

 do bad things, are ignoring the fact that if one person can discover a flaw, so can

                                           5
          Case 1:17-cv-02989-AT Document 1678-2 Filed 06/05/23 Page 6 of 7




others. This is why responsible disclosure, including delayed, full disclosure, is so

widely practiced and accepted in the computer and software industry.

      20.      In this particular case, the report in question has been widely

distributed with and without authorization. Bad actors undoubtedly already have

access to the report. There is further danger that it could leak to the general public

at any time. A leak close to November 2024 could be used as a political tool to

undermine confidence in the election.

      21.      For the foregoing reasons the report should be unsealed and made

public.

      22.      Whether or not this report is unsealed, it is entirely unsafe to assume

that there are no more bugs or security flaws in the Dominion software other than

the ones that Professors Halderman and Springall identified for this court.

Computer software (including voting-machine software) is ever more complex. As

I follow reports of security vulnerabilities found in widely used software products,

I see more bugs reported every year in the same products. Some of these flaws

survive for years in these products before being reported. It is entirely likely that

even if Dominion’s modifications (for which they recently applied for EAC

certification) successfully repair these specific security flaws, there are others

latent in their product as well.

      23.      The solution is not to replace Dominion’s BMDs with some other

                                           6
Case 1:17-cv-02989-AT Document 1678-2 Filed 06/05/23 Page 7 of 7
